        Case 5:21-cv-07983-EJD Document 1 Filed 10/12/21 Page 1 of 38




 1   Alden K.W. Lee (SBN 257973)
     BARTKO ZANKEL BUNZEL & MILLER
 2   A Professional Law Corporation
     One Embarcadero Center, Suite 800
 3   San Francisco, CA 94111
     T: 415-956-1900
 4   Email: alee@bzbm.com

 5   Jeremy P. Oczek (Pro Hac Vice To Be Filed)
     BOND, SCHOENECK & KING PLLC
 6   200 Delaware Avenue, Suite 900
     Buffalo, NY 14202
 7   T: (716) 416-7037
     Email: jpoczek@bsk.com
 8
     Jonathan L. Gray (Pro Hac Vice To Be Filed)
 9   BOND, SCHOENECK & KING PLLC
     One Lincoln Center, 110 West Fayette Street
10   Syracuse, NY 13202
     Telephone: (315) 218-8621
11   Email: jlgray@bsk.com

12   Counsel for Plaintiffs
     Signify North America Corporation
13   and Signify Holding B.V.

14

15
                               UNITED STATES DISTRICT COURT
16                           NORTHERN DISTRICT OF CALIFORNIA

17   SIGNIFY NORTH AMERICA CORPORATION                    CASE NO.
     and
18   SIGNIFY HOLDING B.V.                                 COMPLAINT FOR PATENT
                                                          INFRINGEMENT
19                 Plaintiffs,
                                                          DEMAND FOR JURY TRIAL
20          v.

21   KIND LED GROW LIGHTS LLC
     and
22   SUPERCLOSET (d/b/a KIND LED GROW LIGHTS)

23                 Defendants.

24

25

26

27

28
                                                   -1-
                                 COMPLAINT FOR PATENT INFRINGEMENT
        Case 5:21-cv-07983-EJD Document 1 Filed 10/12/21 Page 2 of 38




 1          Plaintiffs Signify North America Corporation and Signify Holding B.V. (collectively,

 2   “Signify”) for their complaint against Defendants Kind LED Grow Lights, LLC and Supercloset

 3   (d/b/a Kind LED Grow Lights) (collectively, “Defendants”) allege as follows:

 4                                    NATURE OF THE ACTION

 5          1.      This is a civil action for patent infringement arising under the patent laws of the

 6   United States, 35 U.S.C. § 1 et seq. including 35 U.S.C. § 271, which gives rise to the remedies

 7   specified under 35 U.S.C. §§ 281 and 283-285.

 8                                           THE PARTIES

 9          2.      Plaintiff Signify North America Corporation is a corporation organized and

10   existing under the laws of Delaware with its principal place of business at 200 Franklin Square

11   Drive, Somerset, New Jersey 08873.

12          3.      Plaintiff Signify Holding B.V. is a corporation organized and existing under the

13   laws of the Netherlands with its registered office at High Tech Campus 48, 5656 AE

14   Eindhoven, The Netherlands.

15          4.      On information and belief, Defendant Kind LED Grow Lights, LLC is a limited-

16   liability corporation organized and existing under the laws of California with a place of business

17   at 3555 Airway Drive, Santa Rosa, California 95403, was formed in or about 2019, and has sold

18   and continues to sell products under the Kind LED Grow Lights brand. On information and

19   belief, Kip Andersen is a key principal at Defendant Kind LED Grow Lights, LLC.

20          5.      On information and belief, Defendant Supercloset (d/b/a Kind LED Grow

21   Lights) a corporation organized and existing under the laws of California with a place of

22   business at 3555 Airway Drive, Santa Rosa, California 95403, was formed in or about 2002,

23   was registered to do business as Kind LED Grow Lights from at least 2014 to 2019, and has

24   sold and continues to sell products under the Kind LED Grow Lights brand. On information and

25   belief, Kip Andersen is a key principal at Defendant Supercloset.

26                                  JURISDICTION AND VENUE

27          6.      This Court has subject-matter jurisdiction over this patent infringement action
28   pursuant to 28 U.S.C. §§ 1331 and 1338.
                                                    -2-
                               COMPLAINT FOR PATENT INFRINGEMENT
        Case 5:21-cv-07983-EJD Document 1 Filed 10/12/21 Page 3 of 38




 1          7.      This Court has personal jurisdiction over Defendants, on information and belief,

 2   for at least the following reasons: (i) Defendants have committed acts of patent infringement in

 3   this District; (ii) Defendants regularly conduct business, solicit business, and/or derive

 4   substantial revenue from products provided within this District, including products that infringe

 5   patented technology; and (iii) Defendants share a place of business within this District at 3555

 6   Airway Drive, Santa Rosa, California 95403.

 7          8.      Venue properly lies in this District. Pursuant to 28 U.S.C. § 1400, on information

 8   and belief, Defendants have committed acts of patent infringement in this District and share a

 9   regular and established place of business in this District at 3555 Airway Drive, Santa Rosa,

10   California 95403.

11                                     THE PATENTS-IN-SUIT

12          9.      Signify, formerly Philips Lighting, is a global market leader with recognized
13   expertise in the development, manufacturing, and application of innovative LED lighting
14   solutions. Signify’s LED lighting products have been installed and utilized throughout the
15   world, including on San Francisco City Hall (https://www.signify.com/en-us/blog/archive
16   /showcase/five-years-of-dynamic-led-lighting-by-color-kinetics)
17

18

19

20

21

22

23

24

25

26

27

28
                                                   -3-
                               COMPLAINT FOR PATENT INFRINGEMENT
         Case 5:21-cv-07983-EJD Document 1 Filed 10/12/21 Page 4 of 38




 1   and the San Francisco Bay Bridge (https://www.signify.com/global/our-company/news/press-

 2   release-archive/2016/20160128-artist-leo-villareal-shines-a-permanent-light-on-san-francisco-

 3   with-led-lighting-from-philips).

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15          10.     To protect its innovations resulting from its significant investments, Signify
16   applied for and obtained numerous patents directed to various LED inventions and technologies.
17   For example, Signify’s LED-related patents include U.S. Patent Nos. 6,250,774, 6,692,136,
18   7,348,604, and 7,766,518 (collectively, the “Patents-in-Suit”).
19          11.     U.S. Patent No. 6,250,774 (“the ’774 Patent”), titled “Luminaire,” was duly and
20   legally issued by the United States Patent and Trademark Office on June 26, 2001. Plaintiff
21   Signify North America Corporation is the assignee and owner of all right, title, and interest in
22   the ’774 Patent, a copy of which is attached as Exhibit 1.
23          12.     U.S. Patent No. 6,692,136 (“the ’136 Patent”), titled “LED/Phosphor-LED
24   Hybrid Lighting Systems” was duly and legally issued by the United States Patent and
25   Trademark Office on February 17, 2004. Plaintiff Signify Holding B.V. is the assignee and
26   owner of all right, title, and interest in the ’136 Patent, a copy of which is attached as Exhibit 2.
27          13.     U.S. Patent No. 7,348,604 (“the ’604 Patent”), titled “Light-Emitting Module,”
28   was duly and legally issued by the United States Patent and Trademark Office on March 25,
                                                      -4-
                                 COMPLAINT FOR PATENT INFRINGEMENT
         Case 5:21-cv-07983-EJD Document 1 Filed 10/12/21 Page 5 of 38




 1   2008. Plaintiff Signify Holding B.V. is the assignee and owner of all right, title, and interest in

 2   the ’604 Patent, a copy of which is attached as Exhibit 3.

 3          14.      U.S. Patent No. 7,766,518 (“the ’518 Patent”), titled “LED-Based Light-

 4   Generating Modules for Socket Engagement, and Methods of Assembling, Installing and

 5   Removing Same,” was duly and legally issued by the United States Patent and Trademark Office

 6   on August 3, 2010. Plaintiff Signify North America Corporation is the assignee and owner of all

 7   right, title, and interest in the ’518 Patent, a copy of which is attached as Exhibit 4.

 8                                              COUNT ONE

 9                         INFRINGEMENT OF U.S. PATENT NO. 6,250,774

10          15.      Signify incorporates by reference the allegations in paragraphs 1-14 as if fully set
11   forth herein.
12          16.      On information and belief, Defendants have infringed claims of the ’774 Patent,
13   including at least claim 1, in violation of 35 U.S.C. § 271(a) by manufacturing, using, offering to
14   sell, selling, and/or importing infringing products.
15          17.      Claim 1 of the ’774 patent recites:
16                          A luminaire comprising:
17                          a housing with a light emission window,
18                          at least one lighting module in said housing for illuminating an
19                   object outside said housing,
20                          the lighting module comprising a set of lighting units,
21                          each of said lighting units comprising at least one LED chip and
22                   an optical system configured to illuminate portions of the object during
23                   operation, each said LED chip supplying a luminous flux of at least 5 lm
24                   during operation.
25          18.      On information and belief, Defendants have directly infringed, at least, claim 1 of
26   the ’774 Patent by making, using, offering to sell, selling, and/or importing at least L300 and
27   XL750 products in this judicial district and elsewhere in the United States.
28
                                                      -5-
                                 COMPLAINT FOR PATENT INFRINGEMENT
        Case 5:21-cv-07983-EJD Document 1 Filed 10/12/21 Page 6 of 38




 1                                      Infringing L300 Products

 2          19.     On information and belief, L300 products are luminaires. An L300 product is

 3   shown in the below image, from an archived version of Defendants’ website (http://web.archive.

 4   org/web/20160501072525/https://kindledgrowlights.com/product/led-grow-lights-k3-l300/):

 5

 6

 7

 8

 9

10

11          20.     On information and belief, L300 products include a housing with a light emission
12   window; for example, L300 products include a housing formed, at least in part, by a metal frame
13   that defines a series of apertures, each forming a light emission window for a light output of a
14   respective LED.
15          21.     On information and belief, L300 products include at least one lighting module in
16   said housing for illuminating an object outside said housing, the lighting module comprising a
17   set of lighting units, each of said lighting units comprising at least one LED chip and an optical
18   system configured to illuminate portions of the object during operation; for example, L300
19   products include multiple lighting modules enclosed within the housing. The lighting modules
20   each include a set of lighting units. Each lighting unit is formed by an LED die and an optical
21   system, itself formed by a dome lens and a secondary optical lens.
22

23

24

25

26

27

28
                                                   -6-
                               COMPLAINT FOR PATENT INFRINGEMENT
        Case 5:21-cv-07983-EJD Document 1 Filed 10/12/21 Page 7 of 38




 1          22.    On information and belief, the lighting units illuminate portions of the canopy of

 2   a plant or plants, as shown in the image below (from the L300 user manual, available at

 3   https://cdn.shopify.com/s/files/1/1260/1841/files/KIND_K3_INSTRUCTIONS_2016.pdf?36384

 4   42959736875800):

 5

 6

 7

 8

 9

10

11

12

13

14          23.    On information and belief, each said LED chip supplies a luminous flux of at
15   least 5 lm during operation; for example, each LED die is a 3W chip that supplies a luminous
16   flux of more than 5 lm during operation.
17                                    Infringing XL750 Products
18          24.    On information and belief, XL750 products are luminaires. An XL750 product is
19   shown in the below image, from an archived version of Defendants’ website (http://web.
20   archive.org/web/20160501072716/https://kindledgrowlights.com/product/best-led-grow-light-
21   k5-xl750/):
22

23

24

25

26

27          25.    On information and belief, XL750 products include a housing with a light
28   emission window; for example, XL750 products include a housing formed, at least in part, by a
                                                  -7-
                               COMPLAINT FOR PATENT INFRINGEMENT
        Case 5:21-cv-07983-EJD Document 1 Filed 10/12/21 Page 8 of 38




 1   metal frame that defines a series of apertures, each forming a light emission window for a light

 2   output of a respective LED.

 3          26.     On information and belief, XL750 products include at least one lighting module

 4   in said housing for illuminating an object outside said housing, the lighting module comprising a

 5   set of lighting units, each of said lighting units comprising at least one LED chip and an optical

 6   system configured to illuminate portions of the object during operation; for example, XL750

 7   products include multiple lighting modules enclosed within the housing. The lighting modules

 8   each include a set of lighting units. Each lighting unit is formed by an LED die and an optical

 9   system itself formed by a dome lens and a secondary optical lens.

10

11

12

13

14

15

16          27.     On information and belief, the lighting units illuminate portions of the canopy of
17   a plant or plants, as shown in the image below (from the XL750 user manual, available at
18   https://cdn.shopify.com/s/files/1/1260/1841/files/K5_BOOK_WEB_2016_new.pdf?1348464530
19   7279714259):
20

21

22

23

24

25

26

27

28
                                                   -8-
                               COMPLAINT FOR PATENT INFRINGEMENT
        Case 5:21-cv-07983-EJD Document 1 Filed 10/12/21 Page 9 of 38




 1          28.     On information and belief, each said LED chip supplies a luminous flux of at

 2   least 5 lm during operation; for example, each LED die is a 3W or 5W chip that supplies a

 3   luminous flux of more than 5 lm during operation.

 4          29.     The full extent of Defendants’ infringement is not presently known to Signify. On

 5   information and belief, Defendants have made and sold products under different names or part

 6   numbers that have infringed the ’774 Patent in a similar manner. Signify makes this preliminary

 7   identification of infringing products and infringed claims in Count One without the benefit of

 8   discovery or claim construction in this action, and expressly reserves the right to augment,

 9   supplement, and revise its identifications based on additional information obtained through

10   discovery or otherwise.

11          30.     Signify has suffered damages as a result of Defendants’ infringement of the ’774

12   Patent in an amount to be determined at trial.

13          31.     On information and belief, Defendants have been aware of and have had notice

14   and actual knowledge of the ’774 Patent and its infringement of the ’774 Patent since at least as

15   early as May 2016. For example, Defendants and Kip Andersen were notified in a letter dated

16   May 17, 2016 that Defendants’ L300 products infringed the ’774 Patent. This notice serves as

17   actual notice for, at least, L300 products and for all substantially similar products, such as

18   XL750 products. Further, upon information and belief, K3 series L450 and L600 products and

19   K5 series XL1000 products are believed to be substantially similar to L300 products and, thus,

20   Defendants and Kip Andersen were likewise on actual notice of infringement for these products

21   by the letter of May 17, 2016.

22          32.     Defendants’ pre-suit knowledge of the ’774 Patent and failure to substantively

23   address Signify’s numerous notifications of infringement are sufficient to support a plausible

24   inference that Defendants’ infringement was willful and egregious, warranting enhancement of

25   damages under 35 U.S.C. § 284, and attorneys’ fees and costs incurred under 35 U.S.C. § 285.

26

27

28
                                                      -9-
                                COMPLAINT FOR PATENT INFRINGEMENT
        Case 5:21-cv-07983-EJD Document 1 Filed 10/12/21 Page 10 of 38




 1                                                COUNT TWO

 2                         INFRINGEMENT OF U.S. PATENT NO. 6,692,136

 3          33.       Signify incorporates by reference the allegations in paragraphs 1-14 as if fully set

 4   forth herein.

 5          34.       On information and belief, Defendants have infringed claims of the ’136 Patent,

 6   including at least claims 1, 3, and 5 in violation of 35 U.S.C. § 271(a) by manufacturing, using,

 7   offering to sell, selling, and/or importing infringing products.

 8          35.       Claim 1 of the ’136 Patent recites:

 9                    A lighting system for producing white light, the system comprising:

10                           at least one light emitting diode; and

11                           a phosphor-light emitting diode disposed adjacent to the at least

12                    one light emitting diode.

13          36.       Claim 3 of the ’136 Patent recites:

14                    The lighting system according to claim 1, further comprising at least a

15                    second light emitting diode.

16          37.       Claim 5 of the ’136 Patent recites:

17                    The lighting system according to claim 3, wherein the light emitted from

18                    the light emitting diodes are of the same general color but have different

19                    spectral wavelengths.

20          38.       On information and belief, Defendants have directly infringed, at least, claims 1,

21   3, and 5 of the ’136 Patent by making, using, offering to sell, selling, and/or importing at least

22   L300, XL300, XL750, and XL750 WiFi products in this judicial district and elsewhere in the

23   United States.

24                                        Infringing L300 Products

25          39.       On information and belief, L300 products produce white light.
26          40.       On information and belief, L300 products include at least one light emitting
27   diode; for example, L300 products include a plurality of light emitting diodes.
28
                                                     - 10 -
                                 COMPLAINT FOR PATENT INFRINGEMENT
        Case 5:21-cv-07983-EJD Document 1 Filed 10/12/21 Page 11 of 38




 1             41.   On information and belief, L300 products include a phosphor-light emitting diode

 2   disposed adjacent to the at least one light emitting diode; for example, L300 products include a

 3   plurality of phosphor light emitting diodes, each of which comprises a blue light emitting diode

 4   coated with a phosphor in order to produce white light, and each of which is positioned next to a

 5   light emitting diode. (The below image of an illuminated L300 product is from an archived

 6   version of Defendants’ website available at http://web.archive.org/web/ 20160501072525

 7   /https://kindledgrowlights.com/product/led-grow-lights-k3-l300/.)

 8

 9

10

11

12

13

14

15

16             42.   On information and belief, L300 products include at least a second light emitting
17   diode; for example, the plurality of light emitting diodes include at least two red light emitting
18   diodes.
19             43.   On information and belief, the light emitted from the light emitting diodes are of
20   the same general color but have different spectral wavelengths; for example, the two red LEDs
21   have different spectral wavelengths: a first red LED with a spectral peak of approximately 603
22   nm and a second red LED with a spectral peak of approximately 661 nm.
23

24

25

26

27

28
                                                   - 11 -
                                COMPLAINT FOR PATENT INFRINGEMENT
        Case 5:21-cv-07983-EJD Document 1 Filed 10/12/21 Page 12 of 38




 1          44.     On information and belief, in the alternative, the plurality of light emitting diodes

 2   include at least two blue light emitting diodes that have different spectral wavelengths: a first

 3   blue LED with a spectral peak of approximately 438 nm and a second blue LED with a spectral

 4   peak of approximately 465 nm.

 5

 6

 7

 8

 9

10

11                                     Infringing XL750 Products

12          45.     On information and belief, XL750 products produce white light.

13          46.     On information and belief, XL750 products include at least one light emitting

14   diode; for example, XL750 products include a plurality of light emitting diodes.

15          47.     On information and belief, XL750 products include a phosphor-light emitting

16   diode disposed adjacent to the at least one light emitting diode; for example, XL750 products

17   include a plurality of phosphor light emitting diodes, each of which comprises a blue light

18   emitting diode coated with a phosphor in order to produce white light, and each of which is

19   positioned next to a light emitting diode. (The below image of an illuminated XL750 product is

20   from an archived version of Defendants’ website available at http://web.archive.org

21   /web/20160501072716/https://kindledgrowlights.com/product/best-led-grow-light-k5-xl750/.)

22

23

24

25

26

27

28
                                                   - 12 -
                               COMPLAINT FOR PATENT INFRINGEMENT
        Case 5:21-cv-07983-EJD Document 1 Filed 10/12/21 Page 13 of 38




 1          48.     On information and belief, XL750 products include at least a second light

 2   emitting diode; for example, the plurality of light emitting diodes include at least two red light

 3   emitting diodes.

 4          49.     On information and belief, the light emitted from the light emitting diodes are of

 5   the same general color but have different spectral wavelengths; for example, the two red light

 6   emitting diodes have different spectral wavelengths: a first red LED with a spectral peak of

 7   approximately 598 nm and a second red LED with a spectral peak of approximately 612 nm.

 8

 9

10

11

12

13

14          50.     On information and belief, in the alternative, XL750 products include at least two
15   blue light emitting diodes that have different spectral wavelengths: a first blue LED with a
16   spectral peak of approximately 437 nm and a second blue LED with a spectral peak of
17   approximately 464 nm.
18

19

20

21

22

23

24                                     Infringing XL300 Products

25          51.     On information and belief, XL300 products produce white light. An XL300

26   product is shown in the below image from an archived version of Defendants’ website

27   (http://web.archive.org/web/20210519031925/https://www.kindledgrowlights.com/products/xl3

28   00-led-grow-lights):
                                                   - 13 -
                               COMPLAINT FOR PATENT INFRINGEMENT
        Case 5:21-cv-07983-EJD Document 1 Filed 10/12/21 Page 14 of 38




 1

 2

 3

 4

 5

 6

 7

 8          52.     On information and belief, XL300 products include at least one light emitting

 9   diode; for example, XL300 products include a plurality of light emitting diodes.

10          53.     On information and belief, XL300 products include a phosphor-light emitting

11   diode disposed adjacent to the at least one light emitting diode; for example, XL300 products

12   include a plurality of phosphor light emitting diodes, each of which comprises a blue light

13   emitting diode coated with a phosphor in order to produce white light, and each of which is

14   positioned next to a light emitting diode.

15

16

17

18

19

20

21

22          54.     On information and belief, XL300 products include at least a second light
23   emitting diode; for example, the plurality of light emitting diodes include at least two red light
24   emitting diodes.
25          55.     On information and belief, the light emitted from the light emitting diodes are of
26   the same general color but have different spectral wavelengths; for example, the two red light
27   emitting diodes have different spectral wavelengths: a first red LED with a spectral peak of
28   approximately 604 nm and a second red LED with a spectral peak of approximately 640 nm.
                                              - 14 -
                                COMPLAINT FOR PATENT INFRINGEMENT
        Case 5:21-cv-07983-EJD Document 1 Filed 10/12/21 Page 15 of 38




 1

 2

 3

 4

 5

 6

 7          56.    On information and belief, in the alternative, XL300 products include at least two

 8   blue light emitting diodes that have different spectral wavelengths: a first blue LED with a

 9   spectral peak of approximately 411 nm and a second blue LED with a spectral peak of

10   approximately 433 nm.

11

12

13

14

15

16

17                                  Infringing XL750 WiFi Products

18          57.    On information and belief, XL750 WiFi products produce white light. An XL750

19   WiFi product is shown in the below image from an archived version of Defendants’ website

20   (http://web.archive.org/web/20201029113843/https://www. kindledgrowlights.com/products/k5-

21   xl750-wifi-led-grow-lights):

22

23

24

25

26

27

28
                                                 - 15 -
                               COMPLAINT FOR PATENT INFRINGEMENT
        Case 5:21-cv-07983-EJD Document 1 Filed 10/12/21 Page 16 of 38




 1          58.     On information and belief, XL750 WiFi products include at least one light

 2   emitting diode; for example, XL750 WiFi products include a plurality of light emitting diodes.

 3          59.     On information and belief, XL750 WiFi products include a phosphor-light

 4   emitting diode disposed adjacent to the at least one light emitting diode; for example, XL750

 5   WiFi products include a plurality of phosphor light emitting diodes, each of which comprises a

 6   blue light emitting diode coated with a phosphor in order to produce white light, and each of

 7   which is positioned next to a light emitting diode.

 8

 9

10

11

12

13

14

15          60.     On information and belief, XL750 WiFi products include at least a second light
16   emitting diode; for example, the plurality of light emitting diodes include at least two red light
17   emitting diodes.
18          61.     On information and belief, the light emitted from the light emitting diodes are of
19   the same general color but have different spectral wavelengths; for example, the two red light
20   emitting diode have different spectral wavelengths: a first red LED with a spectral peak of
21   approximately 595 nm and a second red LED with a spectral peak of approximately 605 nm.
22

23

24

25

26

27

28
                                                    - 16 -
                                COMPLAINT FOR PATENT INFRINGEMENT
        Case 5:21-cv-07983-EJD Document 1 Filed 10/12/21 Page 17 of 38




 1          62.     On information and belief, in the alternative, XL750 WiFi products include at

 2   least two blue light emitting diodes that have different spectral wavelengths: a first blue LED

 3   with a spectral peak of approximately 425 nm and a second blue LED with a spectral peak of

 4   approximately 437 nm.

 5

 6

 7

 8

 9

10

11          63.     The full extent of Defendants’ infringement is not presently known to Signify. On
12   information and belief, Defendants have made and sold products under different names or part
13   numbers that have infringed the ’136 Patent in a similar manner. Signify makes this preliminary
14   identification of infringing products and infringed claims in Count Two without the benefit of
15   discovery or claim construction in this action, and expressly reserves the right to augment,
16   supplement, and revise its identifications based on additional information obtained through
17   discovery or otherwise.
18          64.     Signify has suffered damages as a result of Defendants’ infringement of the ’136
19   Patent in an amount to be determined at trial.
20          65.     On information and belief, Defendants have been aware of and have had notice
21   and actual knowledge of the ’136 Patent and its infringement of the ’136 Patent since at least as
22   early as May 2016. For example, Defendants and Kip Andersen were notified in a letter dated
23   May 17, 2016 that Defendants’ L300 products infringed the ’136 Patent. This letter serves as
24   actual notice for, at least, L300 products and for all substantially similar products, such as
25   XL750, XL300, and XL750 WiFi products. Further, upon information and belief, K3 series
26   L450, L600, XL450, XL600 products and K5 series XL1000 and XL1000 WiFi products are
27   believed to be substantially similar to L300 products and, thus, Defendants and Kip Andersen
28   were likewise on actual notice of infringement for these products by the letter of May 17, 2016
                                                      - 17 -
                                COMPLAINT FOR PATENT INFRINGEMENT
        Case 5:21-cv-07983-EJD Document 1 Filed 10/12/21 Page 18 of 38




 1   as of the date of the letter or, if later, the date these products were first made, used, sold, offered

 2   for sale, or imported.

 3          66.      Defendants’ pre-suit knowledge of the ’136 Patent and failure to substantively

 4   address Signify’s numerous notifications of infringement are sufficient to support a plausible

 5   inference that Defendants’ infringement was willful and egregious, warranting enhancement of

 6   damages under 35 U.S.C. § 284, and attorneys’ fees and costs incurred under 35 U.S.C. § 285.

 7                                              COUNT THREE

 8                         INFRINGEMENT OF U.S. PATENT NO. 7,348,604

 9          67.      Signify incorporates by reference the allegations in paragraphs 1-14 as if fully set

10   forth herein.

11          68.      On information and belief, Defendants have infringed and are infringing claims

12   of the ’604 Patent, including at least claims 1 and 8, in violation of 35 U.S.C. § 271(a) by

13   manufacturing, using, offering to sell, selling, and/or importing infringing products.

14          69.      Claim 1 of the ’604 patent recites:

15                            A light-emitting module comprising:

16                            (a) a thermally conductive substrate having one or more light-

17                   emitting elements thermally connected thereto, the substrate configured to

18                   operatively couple a source of power to the one or more light-emitting

19                   elements, thereby providing a means for activation of the one or more

20                   light-emitting elements;

21                            (b) a heat dissipation element thermally coupled to the thermally

22                   conductive substrate; and

23                            (c) a housing element including fastening means for detachably

24                   coupling the housing element to the heat dissipation element, said

25                   substrate being enclosed between the heat dissipation element and said

26                   housing element, said housing element including a transparent region

27                   enabling transmission of light emitted by the one or more light-emitting

28                   elements therethrough.
                                                     - 18 -
                                 COMPLAINT FOR PATENT INFRINGEMENT
        Case 5:21-cv-07983-EJD Document 1 Filed 10/12/21 Page 19 of 38




 1          70.     Claim 8 of the ’604 Patent recites:

 2                  The light-emitting module according to claim 1, wherein the substrate is a

 3                  metal core printed circuit board or a FR4 board.

 4          71.     On information and belief, Defendants have directly infringed and are directly

 5   infringing, at least, claim 1 and 8 of the ’604 Patent by making, using, offering to sell, selling,

 6   and/or importing at least XL300, XL750 WiFi, XD75, and X2 products in this judicial district

 7   and elsewhere in the United States.

 8                                     Infringing XL300 Products

 9          72.     On information and belief, XL300 products include a light-emitting module.

10          73.     On information and belief, XL300 products include a thermally conductive

11   substrate having one or more light-emitting elements thermally connected thereto, the substrate

12   configured to operatively couple a source of power to the one or more light-emitting elements,

13   thereby providing a means for activation of the one or more light-emitting elements; for

14   example, XL300 products include a thermally conductive substrate formed by a metal-core

15   printed circuit board thermally connected to LEDs. The metal-core printed circuit board is

16   configured to operatively couple a source of power—an LED driver—to the LEDs in order to

17   power and thus activate the LEDs.

18

19

20

21

22

23

24

25          74.     On information and belief, XL300 products include a heat dissipation element
26   thermally coupled to the thermally conductive substrate; for example, XL300 products include a
27   heat dissipation element formed by a heat sink, which is thermally coupled to the metal-core
28   printed circuit board.
                                                   - 19 -
                                COMPLAINT FOR PATENT INFRINGEMENT
        Case 5:21-cv-07983-EJD Document 1 Filed 10/12/21 Page 20 of 38




 1

 2

 3

 4

 5

 6

 7

 8

 9          75.     On information and belief, XL300 products include a housing element including

10   fastening means for detachably coupling the housing element to the heat dissipation element; for

11   example, XL300 products include a housing element, formed by a metal frame and secondary

12   optical lenses. The housing element further includes threaded bores and screws to detachably

13   couple the housing element to the heat sink.

14

15

16

17

18

19

20

21

22

23

24          76.     On information and belief, the substrate is enclosed between the heat dissipation
25   element and said housing element; for example, the metal-core printed circuit board is enclosed
26   between the heat sink and the metal frame and secondary optical lenses.
27

28
                                                    - 20 -
                               COMPLAINT FOR PATENT INFRINGEMENT
        Case 5:21-cv-07983-EJD Document 1 Filed 10/12/21 Page 21 of 38




 1

 2

 3

 4

 5

 6

 7

 8

 9          77.     On information and belief, the housing element includes a transparent region

10   enabling transmission of light emitted by the one or more light-emitting elements therethrough;

11   for example, the housing element includes transparent regions, formed by secondary optical

12   lenses, that enable transmission of light emitted by LEDs to the outside of the housing element.

13

14

15

16

17

18

19

20

21          78.     On information and belief, the substrate is a metal core printed circuit board.
22

23

24

25                                  Infringing XL750 WiFi Products

26          79.     On information and belief, XL750 WiFi products include a light-emitting

27   module, as shown below.

28
                                                   - 21 -
                               COMPLAINT FOR PATENT INFRINGEMENT
        Case 5:21-cv-07983-EJD Document 1 Filed 10/12/21 Page 22 of 38




 1          80.     On information and belief, XL750 WiFi products include a thermally conductive

 2   substrate having one or more light-emitting elements thermally connected thereto, the substrate

 3   configured to operatively couple a source of power to the one or more light-emitting elements,

 4   thereby providing a means for activation of the one or more light-emitting elements; for

 5   example, XL750 WiFi products include a thermally conductive substrate formed by a metal-core

 6   printed circuit board thermally connected to LEDs. The metal-core printed circuit board is

 7   configured to operatively couple a source of power—an LED driver—to the LEDs in order to

 8   power and thus activate the LEDs.

 9

10

11

12

13

14

15

16

17

18          81.     On information and belief, XL750 WiFi products include a heat dissipation
19   element thermally coupled to the thermally conductive substrate; for example, XL750 WiFi
20   products include a heat dissipation element formed by a heat sink, which is thermally coupled to
21   the metal-core printed circuit board.
22

23

24

25

26

27

28
                                                  - 22 -
                                COMPLAINT FOR PATENT INFRINGEMENT
        Case 5:21-cv-07983-EJD Document 1 Filed 10/12/21 Page 23 of 38




 1          82.     On information and belief, XL750 WiFi products include a housing element

 2   including fastening means for detachably coupling the housing element to the heat dissipation

 3   element; for example, XL750 WiFi products include a housing element, formed by a metal

 4   frame and secondary optical lenses. The housing element further includes threaded bores and

 5   screws to detachably couple the housing element to the heat sink.

 6

 7

 8

 9

10

11

12

13

14

15          83.     On information and belief, the substrate is enclosed between the heat dissipation

16   element and said housing element; for example, the metal-core printed circuit board is enclosed

17   between the heat sink and the metal frame and secondary optical lenses.

18

19

20

21

22

23

24

25          84.     On information and belief, the housing element includes a transparent region
26   enabling transmission of light emitted by the one or more light-emitting elements therethrough;
27   for example, the housing element includes transparent regions, formed by secondary optical
28   lenses, that enable transmission of light emitted by LEDs to the outside of the housing element.
                                                   - 23 -
                               COMPLAINT FOR PATENT INFRINGEMENT
        Case 5:21-cv-07983-EJD Document 1 Filed 10/12/21 Page 24 of 38




 1

 2

 3

 4

 5

 6

 7

 8

 9          85.    On information and belief, the substrate is a metal core printed circuit board.

10

11

12

13

14                                     Infringing XD75 Products

15          86.    On information and belief, XD75 products include a light-emitting module. An

16   XD75 product is shown in the below image, from Defendants’ website (available at:

17   https://www.kindledgrowlights.com/products/xd75-xd150-bar-led-grow-lights).

18

19

20

21

22

23

24          87.    On information and belief, XD75 products come in two spectral variants:

25   vegetative and flower. Additionally, both spectral variants of XD75 products come in 4ft and 8ft

26   lengths. On information and belief, these spectral variants of XD75 products are structurally

27   identical, differing only in the spectrum of light produced by the LEDs. Further, on information

28   and belief, both lengths of XD75 products are structurally identical apart from length.
                                                  - 24 -
                               COMPLAINT FOR PATENT INFRINGEMENT
        Case 5:21-cv-07983-EJD Document 1 Filed 10/12/21 Page 25 of 38




 1   Accordingly, all allegations detailed below should be understood to apply equally to the

 2   vegetative and flower spectral variants and to the 4ft and 8ft lengths of the XD75 products.

 3            88.   On information and belief, XD75 products include a thermally conductive

 4   substrate having one or more light-emitting elements thermally connected thereto, the substrate

 5   configured to operatively couple a source of power to the one or more light-emitting elements,

 6   thereby providing a means for activation of the one or more light-emitting elements; for

 7   example, XD75 products include a thermally conductive substrate formed by a metal-core

 8   printed circuit board thermally connected to LEDs. The metal-core printed circuit board is

 9   configured to operatively couple a source of power—an LED driver—to the LEDs in order to

10   power and thus activate the LEDs.

11

12

13

14

15

16

17

18

19            89.   On information and belief, XD75 products include a heat dissipation element

20   thermally coupled to the thermally conductive substrate; for example, XD75 products include a

21   heat dissipation element formed by a heat sink, which is thermally coupled to the printed circuit

22   board.

23            90.   On information and belief, XD75 products include a housing element including

24   fastening means for detachably coupling the housing element to the heat dissipation element; for

25   example, XD75 products include a housing element, formed by a transparent window. The

26   transparent window includes a flange that detachably couples to the heat sink via contact with a

27   slot formed in the heat sink.

28
                                                   - 25 -
                                COMPLAINT FOR PATENT INFRINGEMENT
        Case 5:21-cv-07983-EJD Document 1 Filed 10/12/21 Page 26 of 38




 1

 2

 3

 4

 5

 6

 7

 8

 9

10          91.     On information and belief, the substrate is enclosed between the heat dissipation

11   element and said housing element; for example, the printed circuit board is enclosed between the

12   transparent window and the heat sink.

13

14

15

16

17

18

19

20          92.     On information and belief, the housing element includes a transparent region

21   enabling transmission of light emitted by the one or more light-emitting elements therethrough;

22   for example, the transparent window enables the transmission of light emitted by the LEDs to

23   the outside of the housing element.

24          93.     On information and belief, the substrate is a metal core printed circuit board.

25

26

27

28
                                                   - 26 -
                               COMPLAINT FOR PATENT INFRINGEMENT
        Case 5:21-cv-07983-EJD Document 1 Filed 10/12/21 Page 27 of 38




 1                                      Infringing X2 Products

 2          94.    On information and belief, X2 products include a light-emitting module. An X2

 3   product is shown in the below image, from Defendants’ website (available at: https://www.

 4   kindledgrowlights.com/collections/led-grow-lights/products/x2-commercial-led-grow-light).

 5

 6

 7

 8

 9

10

11

12          95.    On information and belief, X2 products include a thermally conductive substrate

13   having one or more light-emitting elements thermally connected thereto, the substrate

14   configured to operatively couple a source of power to the one or more light-emitting elements,

15   thereby providing a means for activation of the one or more light-emitting elements; for

16   example, X2 products include a thermally conductive substrate formed by a metal-core printed

17   circuit board thermally connected to LEDs. The metal-core printed circuit board is configured to

18   operatively couple a source of power—an LED driver—to the LEDs in order to power and thus

19   activate the LEDs.

20

21

22

23

24

25

26

27

28
                                                  - 27 -
                               COMPLAINT FOR PATENT INFRINGEMENT
        Case 5:21-cv-07983-EJD Document 1 Filed 10/12/21 Page 28 of 38




 1            96.   On information and belief, X2 products include a heat dissipation element

 2   thermally coupled to the thermally conductive substrate; for example, X2 products include a heat

 3   dissipation element formed by a heat sink, which is thermally coupled to the printed circuit

 4   board.

 5

 6

 7

 8

 9

10

11

12

13

14            97.   On information and belief, X2 products include a housing element including

15   fastening means for detachably coupling the housing element to the heat dissipation element; for

16   example, X2 products include a housing element, formed by a transparent window. The

17   transparent window includes a stepped surface that detachably couples to a bracket of the heat

18   sink that engages with the transparent window through contact with the stepped surface.

19

20

21

22

23

24

25

26            98.   On information and belief, the substrate is enclosed between the heat dissipation

27   element and said housing element; for example, the printed circuit board is enclosed between the

28   transparent window and the heat sink.
                                                  - 28 -
                               COMPLAINT FOR PATENT INFRINGEMENT
        Case 5:21-cv-07983-EJD Document 1 Filed 10/12/21 Page 29 of 38




 1          99.     On information and belief, the housing element includes a transparent region

 2   enabling transmission of light emitted by the one or more light-emitting elements therethrough;

 3   for example, the transparent window enables the transmission of light emitted by the LEDs to

 4   the outside of the housing element.

 5

 6

 7

 8

 9

10

11

12

13

14          100.    On information and belief, the substrate is a metal core printed circuit board.

15

16

17

18          101.    The full extent of Defendants’ infringement is not presently known to Signify. On
19   information and belief, Defendants have made and sold, or will make and sell, products under
20   different names or part numbers that infringe the ’604 Patent in a similar manner. Signify makes
21   this preliminary identification of infringing products and infringed claims in Count Three
22   without the benefit of discovery or claim construction in this action, and expressly reserves the
23   right to augment, supplement, and revise its identifications based on additional information
24   obtained through discovery or otherwise.
25          102.    Signify has suffered and continues to suffer damages as a result of Defendants’
26   infringement of the ’604 Patent in an amount to be determined at trial.
27          103.    Defendants’ infringement of the ’604 Patent is causing irreparable harm for
28   which Signify has no adequate remedy at law unless Defendants are enjoined by this Court.
                                                   - 29 -
                               COMPLAINT FOR PATENT INFRINGEMENT
        Case 5:21-cv-07983-EJD Document 1 Filed 10/12/21 Page 30 of 38




 1   Under 35 U.S.C. § 283, Signify is entitled to a permanent injunction against further infringement

 2   of the ’604 Patent.

 3          104.     On information and belief, Defendants have been aware of and have had notice

 4   and actual knowledge of the ’604 Patent and its infringement of the ’604 Patent since at least as

 5   early as May 2021. For example, Defendants and Kip Andersen were notified in a letter dated

 6   May 6, 2021 that Defendants’ XL300, XL750, and XD75 VEG Linear Grow Light products

 7   infringed the ’604 Patent. This letter serves as actual notice for, at least, these products and for

 8   all substantially similar products, such as X2 products. Further, upon information and belief, K3

 9   series XL450, XL600 products, and K5 series XL1000 WiFi products are believed to be

10   substantially similar to XL300, XL750, and XD75 VEG Linear Grow Light products and, thus,

11   Defendants and Kip Andersen were likewise on actual notice of infringement for these products

12   by the letter of May 6, 2021 as of the date of the letter or, if later, the date these products were

13   first made, used, sold, offered for sale, or imported.

14          105.     Defendants’ pre-suit knowledge of the ’604 Patent and failure to substantively

15   address Signify’s numerous notifications of infringement are sufficient to support a plausible

16   inference that Defendants’ infringement was willful and egregious, warranting enhancement of

17   damages under 35 U.S.C. § 284, and attorneys’ fees and costs incurred under 35 U.S.C. § 285.

18                                             COUNT FOUR

19                         INFRINGEMENT OF U.S. PATENT NO. 7,766,518
20          106.     Signify incorporates by reference the allegations in paragraphs 1-14 as if fully set
21   forth herein.
22          107.     On information and belief, Defendants have infringed claims of the ’518 Patent,
23   including at least claim 1 and 3, in violation of 35 U.S.C. § 271(a) by manufacturing, using,
24   offering to sell, selling, and/or importing infringing products.
25          108.     Claim 1 of the ’518 Patent recites:
26                          A light-generating apparatus, comprising:
27                          an LED assembly, comprising:
28                          an assembly substrate; and
                                                     - 30 -
                                COMPLAINT FOR PATENT INFRINGEMENT
        Case 5:21-cv-07983-EJD Document 1 Filed 10/12/21 Page 31 of 38




 1                         a plurality of LED subassemblies coupled to the assembly

 2                  substrate, each LED subassembly of the plurality of LED subassemblies

 3                  forming at least one of a mechanical connection, an electrical connection,

 4                  and a first thermal connection to the assembly substrate;

 5                         a plurality of secondary optical components; and a chassis coupled

 6                  to the LED assembly and including a plurality of chambers in which the

 7                  plurality of secondary optical components respectively are held, the

 8                  chassis configured such that each secondary optical component of the

 9                  plurality of secondary optical components is disposed in an optical path of

10                  a corresponding one of the plurality of LED subassemblies;

11                         wherein the LED assembly is disposed between the thermally

12                  conductive base plate and the chassis.

13          109.    Claim 3 of the ’518 recites:

14                  The apparatus of claim 1, wherein the chassis is a thermally conductive chassis.

15          110.    On information and belief, Defendants have directly infringed, at least, claims 1

16   and 3 of the ’518 Patent by making, using, offering to sell, selling, and/or importing at least

17   XL300 and XL750 WiFi products in this District and elsewhere in the United States.

18                                     Infringing XL300 Products

19          111.    On information and belief, XL300 products include a light-generating apparatus.
20          112.    On information and belief, XL300 products include an LED assembly,
21   comprising an assembly substrate and a plurality of LED subassemblies coupled to the assembly
22   substrate, each LED subassembly of the plurality of LED subassemblies forming at least one of
23   a mechanical connection, an electrical connection, and a first thermal connection to the assembly
24   substrate; for example, XL300 products include an LED assembly, comprising: an assembly
25   substrate formed by a metal-core printed circuit board; and a plurality of LED subassemblies,
26   each formed by an LED die and a dome lens, are coupled to the metal-core printed circuit board,
27   each LED die of the plurality of LED dies forming a mechanical connection, an electrical
28   connection, and a thermal connection to the printed circuit board.
                                                   - 31 -
                               COMPLAINT FOR PATENT INFRINGEMENT
        Case 5:21-cv-07983-EJD Document 1 Filed 10/12/21 Page 32 of 38




 1          113.    On information and belief, XL300 products include a plurality of secondary

 2   optical components; for example, XL300 products include a plurality of secondary optical

 3   components, each formed by a secondary optical lens.

 4

 5

 6

 7

 8

 9

10

11          114.    On information and belief, XL300 products include a chassis coupled to the LED

12   assembly and including a plurality of chambers in which the plurality of secondary optical

13   components respectively are held, the chassis configured such that each secondary optical

14   component of the plurality of secondary optical components is disposed in an optical path of a

15   corresponding one of the plurality of LED subassemblies; for example, XL300 products include

16   a chassis formed by a metal frame that is coupled to the metal-core printed circuit board and

17   includes a plurality of chambers in which the plurality of secondary optical lenses respectively

18   are held. The metal frame is configured such that each cylindrical lens of the plurality of lenses

19   is disposed in an optical path of a corresponding one of the plurality of LED dies.

20

21

22

23

24

25

26

27          115.    On information and belief, the LED assembly is disposed between the thermally

28   conductive base plate and the chassis; for example, the LED assembly—as formed by the metal-
                                                   - 32 -
                               COMPLAINT FOR PATENT INFRINGEMENT
        Case 5:21-cv-07983-EJD Document 1 Filed 10/12/21 Page 33 of 38




 1   core printed circuit board, LED dies, and dome lenses—is disposed between the heat sink and

 2   the metal frame.

 3

 4

 5

 6

 7

 8

 9

10          116.   On information and belief, the chassis is a thermally conductive chassis; for

11   example, the metal frame is a thermally conductive chassis.

12

13

14

15

16

17

18

19                                 Infringing XL750 WiFi Products

20          117.   On information and belief, XL750 WiFi products include a light-generating

21   apparatus.

22          118.   On information and belief, XL750 WiFi products include an LED assembly,

23   comprising an assembly substrate and a plurality of LED subassemblies coupled to the assembly

24   substrate, each LED subassembly of the plurality of LED subassemblies forming at least one of

25   a mechanical connection, an electrical connection, and a first thermal connection to the assembly

26   substrate; for example, XL750 WiFi products include an LED assembly, comprising: an

27   assembly substrate formed by a metal-core printed circuit board; and a plurality of LED

28   subassemblies, each formed by an LED die and a dome lens, are coupled to the metal-core
                                                  - 33 -
                               COMPLAINT FOR PATENT INFRINGEMENT
        Case 5:21-cv-07983-EJD Document 1 Filed 10/12/21 Page 34 of 38




 1   printed circuit board, each LED die of the plurality of LED dies forming a mechanical

 2   connection, an electrical connection, and a thermal connection to the printed circuit board.

 3           119.   On information and belief, XL750 WiFi products include a plurality of secondary

 4   optical components; for example, XL750 WiFi products include a plurality of secondary optical

 5   components, each formed by a secondary optical lens.

 6

 7

 8

 9

10

11

12           120.   On information and belief, XL750 WiFi products include a chassis coupled to the

13   LED assembly and including a plurality of chambers in which the plurality of secondary optical

14   components respectively are held, the chassis configured such that each secondary optical

15   component of the plurality of secondary optical components is disposed in an optical path of a

16   corresponding one of the plurality of LED subassemblies; for example, XL750 WiFi products

17   include a chassis formed by a metal frame that is coupled to the metal-core printed circuit board

18   and includes a plurality of chambers in which the plurality of secondary optical lenses

19   respectively are held. The metal frame is configured such that each cylindrical lens of the

20   plurality of lenses is disposed in an optical path of a corresponding one of the plurality of LED

21   dies.

22

23

24

25

26

27

28
                                                   - 34 -
                               COMPLAINT FOR PATENT INFRINGEMENT
        Case 5:21-cv-07983-EJD Document 1 Filed 10/12/21 Page 35 of 38




 1          121.   On information and belief, the LED assembly is disposed between the thermally

 2   conductive base plate and the chassis; for example, the LED assembly—as formed by the metal-

 3   core printed circuit board, LED dies, and dome lenses—is disposed between the heat sink and

 4   the metal frame.

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18          122.   On information and belief, the chassis is a thermally conductive chassis; for

19   example, the metal frame is a thermally conductive chassis.

20

21

22

23

24

25

26

27

28
                                                  - 35 -
                               COMPLAINT FOR PATENT INFRINGEMENT
        Case 5:21-cv-07983-EJD Document 1 Filed 10/12/21 Page 36 of 38




 1          123.    The full extent of Defendants’ infringement is not presently known to Signify. On

 2   information and belief, Defendants have made and sold, or will make and sell, products under

 3   different names or part numbers that infringe the ’518 Patent in a similar manner. Signify makes

 4   this preliminary identification of infringing products and infringed claims in Count Four without

 5   the benefit of discovery or claim construction in this action, and expressly reserves the right to

 6   augment, supplement, and revise its identifications based on additional information obtained

 7   through discovery or otherwise.

 8          124.    Signify has suffered and continues to suffer damages as a result of Defendants’

 9   infringement of the ’518 Patent in an amount to be determined at trial.

10          125.    Defendants’ infringement of the ’518 Patent is causing irreparable harm for

11   which Signify has no adequate remedy at law unless Defendants are enjoined by this Court.

12   Under 35 U.S.C. § 283, Signify is entitled to a permanent injunction against further infringement

13   of the ’518 Patent.

14          126.    On information and belief, Defendants have been aware of and have had notice

15   and actual knowledge of the ’518 Patent and its infringement of the ’518 Patent since at least as

16   early as May 2021. For example, Defendants and Kip Andersen were notified in a letter dated

17   May 6, 2021 that Defendants’ XL300 and XL750 products infringed the ’518 Patent. This letter

18   serves as actual notice for, at least, these products and for all substantially similar products.

19   Upon information and belief, K3 series XL450, XL600 products and K5 series XL1000 WiFi

20   products are believed to be substantially similar to XL300 and XL750 products and, thus,

21   Defendants and Kip Andersen were likewise on actual notice of infringement for these products

22   by the letter of May 6, 2021 as of the date of the letter.

23          127.    Defendants’ pre-suit knowledge of the ’518 Patent and failure to substantively

24   address Signify’s numerous notifications of infringement are sufficient to support a plausible

25   inference that Defendants’ infringement was willful and egregious, warranting enhancement of

26   damages under 35 U.S.C. § 284, and attorneys’ fees and costs incurred under 35 U.S.C. § 285.

27

28
                                                     - 36 -
                                 COMPLAINT FOR PATENT INFRINGEMENT
        Case 5:21-cv-07983-EJD Document 1 Filed 10/12/21 Page 37 of 38




 1                                        PRAYER FOR RELIEF

 2          WHEREFORE, Signify prays for the following judgments and relief:

 3          (a)     A judgment that Defendants have infringed and are infringing the Patents-in-Suit;

 4          (b)     A permanent injunction against Defendants and its affiliates, subsidiaries,

 5   assigns, employees, agents or anyone acting in privity or concert from infringing the ’604 and

 6   ’518 Patents, including enjoining the making, offering to sell, selling, using, or importing into

 7   the United States products claimed in any of the claims of the ’604 and ’518 Patents; using or

 8   performing methods claimed in any of the claims of the ’604 and ’518 Patents; inducing others

 9   to use and perform methods that infringe any claim of the ’604 and ’518 Patents; or contributing

10   to others using and performing methods that infringe any claim of the ’604 and ’518 Patents,

11   until the expiration of the ’604 and ’518 Patents;

12          (c)     An award of damages adequate to compensate Signify for Defendants’ patent

13   infringement, and an accounting to adequately compensate Signify for the infringement,

14   including, but not limited to, lost profits and/or a reasonable royalty;

15          (d)     An award of pre-judgment and post-judgment interest at the maximum rate

16   allowed by law;

17          (e)     An order finding that this is an exceptional case and awarding Signify its costs,

18   expenses, disbursements, and reasonable attorneys’ fees related to Defendants’ patent

19   infringement under 35 U.S.C. § 285 and all other applicable statutes, rules and common law; and

20          (f)     Such other further relief, in law or equity, as this Court deems just and proper.

21

22                                              JURY TRIAL

23          In accordance with Rule 38 of the Federal Rules of Civil Procedure, Signify hereby
24   demands a jury trial on all issues triable before a jury.
25

26

27

28
                                                     - 37 -
                                 COMPLAINT FOR PATENT INFRINGEMENT
       Case 5:21-cv-07983-EJD Document 1 Filed 10/12/21 Page 38 of 38




 1   DATED: October 12, 2021         Respectfully Submitted,

 2                                   BARTKO ZANKEL BUNZEL & MILLER

 3

 4                                   By: /s/ Alden K.W. Lee
                                         Alden K.W. Lee
 5                                       Counsel for Plaintiffs
                                         Signify North America Corporation
 6                                       and Signify Holding B.V.

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                         - 38 -
                          COMPLAINT FOR PATENT INFRINGEMENT
